 1   Mark Ditton WSBA#45432                                              Judge: Honorable Christopher M. Alston
     14900 Interurban Ave. S. #265                                       Chapter 13
 2
     Seattle, WA 98168                                                   Hearing Date: 8/29/2019
 3   (206) 674-4602                                                      Hearing Time: 9:30 am
                                                                         Response Date: 8/22/2019
 4                                                                       Hearing Location: Seattle, WA
     Attorney for Debtor
 5

 6                                    UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF WASHINGTON
 7

 8     In re:                                                      Case No. 17-13769 CMA
 9
        Kleene Manning                                             AMENDED NOTICE OF HEARING AND
10                                                                 ATTORNEY’S APPLICATION FOR
                                           Debtor(s).              COMPENSATION IN A CHAPTER 13 CASE
11

12                                                   NOTICE OF HEARING
13   TO:     Clerk of the United States Bankruptcy Court; and All parties in interest:
14           PLEASE TAKE NOTICE that an Application for Compensation in a Chapter 13 Case IS SET
15   FOR HEARING as follows:

16              DATE OF HEARING                  August 29, 2019
                TIME                             9:30am
17
                JUDGE                            Hon. Christopher M. Alston
18
                                                 US Courthouse
19              LOCATION                         700 Stewart Street
                                                 Seattle, WA 98101
20                                               Courtroom 7206
                RESPONSE DUE                     August 22, 2019
21

22           IF YOU OPPOSE the motion you must file your written response with the court clerk and
23   deliver copies to the undersigned and all interested parties NOT LATER THAN THE RESPONSE

24   DATE. IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,

25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                                Page 1
     Local Forms W.D. Wash. Bankr., Form 13-9                                                            Eff. 12/15
     GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and strike the
 1
     hearing.
 2
                                                    APPLICATION,
 3   Mark Ditton, attorney for the debtor(s), applies for additional fees and/or costs and expenses in the
 4   amount of $898.00
 5
     I certify under penalty of perjury that the following is true and correct:
 6
             1. This application includes amounts for:
 7               ☐Pre-Confirmation compensation.
 8               ☒Post-Confirmation compensation.
 9               ☐Pre- and Post-Confirmation compensation.

10           2. The requested sum represents services rendered and / or costs and expenses incurred from
                 11/23/17 to 7/23/19, as set forth in the itemized time record attached pursuant to Local Rules
11
                 W.D. Wash. Bankr. 2016-1(e)(3).
12
             3. A plan
13
                 ☒ was confirmed in this case on 11/22/17 (ECF Docket No._14_).
14
                 ☐ has not been confirmed. If a plan has not been confirmed, I have attached an explanation
15
                 of why I should be awarded compensation pre-confirmation.
16           4. This is my second application for compensation. I was previously awarded compensation as
17               follows:
                 $ 3,840 on 1/2/18 (ECF Docket No.                20           )
18
                 $ [amount] on [date] (ECF Docket No.                          )
19
                 $ [amount] on [date] (ECF Docket No.                          )
20               $ [amount] on [date] (ECF Docket No.                          )
21               $ [amount] on [date] (ECF Docket No.                          )

22           5. The debtor(s) paid me $0 prior to filing.
             6. If approved, the total approved compensation will be $4,738.00( includes the amount
23
                 debtor(s) paid me directly prior to filing this case, all compensation previously awarded and
24
                 the compensation requested in this application).
25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                             Page 2
     Local Forms W.D. Wash. Bankr., Form 13-9                                                         Eff. 12/15
             7. If I was awarded the presumptive fee and this is my first application for compensation, the
 1
                 attached itemized time record includes all services I have provided for representation of the
 2
                 debtor(s) in any capacity whatsoever in connection with this case.
 3           8. Allowance of the compensation requested in this application
 4               ☐ will require plan modification (e.g., the compensation makes the plan infeasible).

 5               ☒ will not require plan modification.
     I REQUEST THAT:
 6
             1. The Court award the compensation requested.
 7
             2. The      awarded     compensation       be    allowed     as   an   administrative   expense   under
 8               11 U.S.C. § 503(b) and paid according to the confirmed plan or, if a plan is never confirmed,
 9               prior to dismissal or conversion (subject to applicable Trustee’s fee).

10           3. Unless the Court orders otherwise, if this case is dismissed or converted after plan
                 confirmation, the Chapter 13 Trustee shall send undisbursed plan payments on hand to the
11
                 debtor(s) in care of Applicant, if the Applicant is the debtor(s)’ attorney at the time of
12
                 dismissal or conversion.
13   A proposed order that conforms to Local Forms W.D. Wash. Bankr., Form 13-10 is attached.
14
     DATE: __8/6/2019_______
15
                                                                /s/ Mark Ditton___.
16                                                               Mark Ditton WSB#45432
                                                                APPLICANT
17

18                                           CERTIFICATE OF SERVICE

19          The undersigned certifies that a copy of the foregoing Notice and Application for Attorney Fees
     was served upon all Creditors Holding Allowed Claims per the attached mailing matrix and any parties
20   requesting special notice by sending a true, full and exact copy enclosed in a sealed envelope by regular
     postage, prepaid, U.S. Mail, or, where specified, electronically:
21
     Served electronically:
22

23   Office of the U.S. Trustee;
     Jason Wilson-Aguilar; case trustee
24

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     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                                  Page 3
     Local Forms W.D. Wash. Bankr., Form 13-9                                                              Eff. 12/15
 1
     Dated this 6th Day of August, 2019.
 2

 3                                                              /s/Mark Ditton____
                                                                Mark Ditton WSB#45432
 4                                                              14900 Interurban Ave. S. #265
                                                                Seattle, WA 98168
 5                                                              206-674-4602 (office)
                                                                866-241-4176 (fax)
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     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                       Page 4
     Local Forms W.D. Wash. Bankr., Form 13-9                                                   Eff. 12/15
Label Matrix for local noticing   BECU                                      Bank of America, N.A.
0981-2                            Attn: Bankruptcy                          P O Box 982284
Case 17-13769-CMA                 P O Box 97050                             El Paso, TX 79998-2284
Western District of Washington    Seattle, WA 98124-9750
Seattle
Tue Jul 23 16:15:29 PDT 2019
Barclays Bank Delaware            (p)BANK OF AMERICA                        Boeing Ecu
100 S West St                     PO BOX 982238                             Po Box 97050
Wilmington, DE 19801-5015         EL PASO TX 79998-2238                     Seattle, WA 98124-9750



Capital One                       Capital One                               Chase Card
Attn: Bankruptcy                  Attn: General Correspondence/Bankruptcy   Attn: Correspondence Dept
Po Box 30253                      Po Box 30285                              Po Box 15298
Salt Lake City, UT 84130-0253     Salt Lake City, UT 84130-0285             Wilmington, DE 19850-5298


Comenity Bkl/Ulta                 Comenity Capital Bank/HSN                 Comenity Capital Bank/Paypal Credit
Po Box 182125                     Po Box 182125                             c/o Weinstein & Riley, PS
Columbus, OH 43218-2125           Columbus, OH 43218-2125                   2001 Western Ave., Ste 400
                                                                            Seattle, WA 98121-3132


(p)DELL FINANCIAL SERVICES        Mark Ditton                               IRS
P O BOX 81577                     Northwest Debt Relief Law Firm            PO Box 7346
AUSTIN TX 78708-1577              14900 Interurban Ave. S. Suite 265        Philadelphia, PA 19101-7346
                                  Seattle, WA 98168-4618


Keybank, Na                       Kleene Manning                            Mor Furniture For Less
4910 Tiedman Road                 22749 Marine View Dr S, Apt 12            Attn: Bankruptcy
Brooklyn, OH 44144-2338           Des Moines, WA 98198-8406                 6965 Consolidated Way
                                                                            San Diego, CA 92121-2603


Nordstrom Fsb                     Nordstrom, Inc.                           PayPal Credit
Correspondence                    Jefferson Capital Systems LLC Assignee    PO Box 5138
Po Box 6555                       Po Box 7999                               Lutherville Timonium, MD 21094-5138
Englewood, CO 80155-6555          Saint Cloud Mn 56302-7999


Prosper Marketplace Inc           Quantum3 Group LLC as agent for           Quantum3 Group LLC as agent for
Po Box 396081                     MOMA Funding LLC                          Velocity Investments LLC
San Francisco, CA 94139-6081      PO Box 788                                PO Box 788
                                  Kirkland, WA 98083-0788                   Kirkland, WA 98083-0788


SYNCHRONY BANK                    Synchrony                                 Synchrony Bank/Care Credit
c/o Weinstein & Riley, P.S.       c/o Weinstein & Riley, P.S.               Attn: Bankruptcy
2001 Western Ave, Ste 400         2001 Western Ave, Ste 400                 Po Box 956060
Seattle, WA 98121-3132            Seattle, WA 98121-3132                    Orlando, FL 32896-0001


Synchrony Bank/QVC                United States Trustee                     Velocity Investments, LLC
Attn: Bankruptcy                  700 Stewart St Ste 5103                   1800 Route 34 No., Ste. 401A
Po Box 956060                     Seattle, WA 98101-4438                    Belmar, NJ 07719-9167
Orlando, FL 32896-0001
Jason Wilson-Aguilar
600 University St #1300
Seattle, WA 98101-4102




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bk Of Amer                                            Dell Financial Services                              End of Label Matrix
Po Box 982238                                         Attn: Bankruptcy                                     Mailable recipients   30
El Paso, TX 79998                                     Po Box 81577                                         Bypassed recipients    0
                                                      Austin, TX 78708                                     Total                 30
